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                            Exhibit H
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From: Guy Gentile </o=M2WEX/ou=Exchange> on behalf of "<Guy Gentile>"
Date: Wednesday, January 8, 2014 at 11:47 PM
To: Philip Dorsett <philip@suretrader.com>
Subject: FW: Privileged and Confidential



Philip,



Please review attached.



I’ll be in the office early tomorrow.



Thanks,


Guy Gentile, President




          CONFIDENTIAL                                                  GENTILE0004652
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Elizabeth on Bay Plaza
Bay Street, Suite 17
Nassau, Bahamas
631-898-4447
guy@swissamericas.com




From: Adam Ford [mailto:aford@harrisobrien.com]
Sent: Wednesday, January 08, 2014 6:04 PM
To: Guy Gentile
Subject: Privileged and Confidential



Guy,



Attached is a copy of an affidavit that we would like Philip to sign and get notarized. Can you give him this document,
make sure that he 100% agrees with everything that is contained in it and get it back to us signed and notarized
tomorrow. Thanks.




Harris, O'Brien, St. Laurent & Chaudhry LLP

111 Broadway, Suite 1502

New York, NY 10006

direct: (917) 512-6937

aford@harrisobrien.com




       Gentile - Dorsett Affidavit.docx
       32K



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